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                            UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
                                     WESTERN DIVISION
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 12
      In re Mattel, Inc. Securities Litigation        Case No. 19-cv-10860-MCS (PLAx)
 13
                                                      ORDER RE STIPULATED
 14                                                   PROTECTIVE ORDER
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      ORDER RE STIPULATED PROTECTIVE ORDER CASE NO.
      19-cv-10860-MCS (PLAx)
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  1          Having considered the papers, and finding that good cause exists, the Parties’
  2 Stipulated Protective Order is granted.
  3          IT IS SO ORDERED.
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  5    DATED: April 30, 2021                    ____________________________
  6                                             HON. PAUL L. ABRAMS
                                                UNITED STATES MAGISTRATE JUDGE
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       ORDER RE STIPULATED PROTECTIVE ORDER CASE NO.
      19-cv-10860-MCS (PLAx)                                                                  1
